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                            UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                                     Chapter 13
         ALBERT J ANDERSON, IV
         LAURA D ANDERSON                                  Bankruptcy No. 24-13975-PMM

                                Debtors

         TRUSTEE’S MOTION TO DISMISS PURSUANT TO 11 U.S.C. SECTION 1307

To the Honorable Judges of the United States Bankruptcy Court for the Eastern District of
Pennsylvania:

1.     Your Movant is Kenneth E. West, Esq. the duly qualified and acting Chapter 13 Trustee in
the above-captioned case.

2.       The within case was commenced by the filing of a Chapter 13 petition on 11/04/2024.

3.       This Motion to Dismiss has been filed for the following reason(s):

         •   Debtor(s) has/have failed to commence or continue making timely payments to the
             trustee as required by 11 U.S.C. Section 1326.

         •   There has been unreasonable delay by debtor(s) that is prejudicial to creditors
             pursuant to 11 U.S.C. Section 1307(c)(1), by the failure of debtor(s) to provide
             business information sufficient for the trustee to evaluate the financial condition of
             debtor(s) and/or the plan.

        WHEREFORE, Kenneth E. West, Esq., Standing Chapter 13 Trustee, requests that the
Court, after a hearing, enter an Order dismissing this case.

Date: 04/15/2025                                    Respectfully submitted,

                                                   /s/ Kenneth E. West, Esq.
                                                   Kenneth E. West, Esq.
                                                   Standing Chapter 13 Trusteee
                                                   190 N. Independence Mall West
                                                   Suite 701
                                                   Philadelphia, PA 19106
                                                   Telephone: (215) 627-1377
